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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

KELLY PRICE,

                                   Plaintiff,
                                                                 15-CV-5871 (LAP)
                       -against-
                                                             ORDER OF DISMISSAL
DETECTIVE LINDA SIMMONS ET AL.,

                              Defendants.

LORETTA A. PRESKA, Chief United States District Judge:

        By order dated October 19, 2015, the Court directed Plaintiff to file an amended

complaint within sixty days. That order specified that failure to comply would result in dismissal

of the complaint. Plaintiff has not filed an amended complaint. Accordingly, the complaint, filed

in forma pauperis pursuant to 28 U.S.C. § 1915(a)(1), is dismissed under 28 U.S.C.

§ 1915(e)(2)(B)(ii).

       The Clerk of Court is directed to mail a copy of this order to Plaintiff and note service on

the docket. The Court certifies under 28 U.S.C. § 1915(a)(3) that any appeal from this order

would not be taken in good faith, and therefore IFP status is denied for the purpose of an appeal.

Cf. Coppedge v. United States, 369 U.S. 438, 444-45 (1962) (holding that an appellant

demonstrates good faith when he seeks review of a nonfrivolous issue).

       SO ORDERED.

Dated: December 23, 2015
       New York, New York
